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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )      8:04CR118
                      Plaintiff,              )
                                              )
               vs.                            )
                                              )
VERONICA PERALES,                             )      ORDER FOR ISSUANCE OF
                                              )      BENCH WARRANT
                      Defendant.              )

       A dispositional hearing was scheduled for July 2, 2008 at 2:00 p.m. before this Court. The

defendant was ordered to be present. The defendant failed to appear for the dispositional hearing

and the issuance of a bench warrant has been ordered.

       It is hereby ordered that the Clerk of this Court is hereby authorized and directed to issue a

Bench Warrant for the Apprehension of Veronica Perales, commanding the arresting officer to bring

her before the Court forthwith.

       Dated this 2nd day of July, 2008.


                                                     BY THE COURT:

                                                     s/ Richard G. Kopf
                                                     United States District Judge
